             Case 2:23-mc-01181-AMM Document 8 Filed 09/11/23 Page 1 of 2            FILED
                                                                            2023 Sep-11 PM 12:00
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                         SOUTHERN DIVISION
 IN RE REDISTICTING 2023

 SPECIAL MASTER                            No 2:20-mc-01181-AMM




    NOTICE OF SUBMISSION OF PROPOSED REMEDIAL PLAN

        Comes now defendant Rep. Chris Pringle, House Chair of the Alabama

Legislature’s Reapportionment Committee, and in accordance with the

September 7, 2023 Amended Order, e.g. Milligan ECF 284, gives notice gives

of the submission of a proposed remedial plan, the Community of Interest

Plan. Attached are the block equivalency files for the Community of Interest

Plan, a map of the plan, and a population summary for the plan. Following

is an explanation of the plan.

                    Explanation of the Community of Interest Plan

The Community of Interest Plan was approved by the Reapportionment

Committee and passed by the House of Representatives but not by the

Senate. The Community of Interest Plan complies with the Reapportionment

Committee’s Guidelines, preserves important communities of interest

identified by the Legislature, complies with the United States and Alabama

constitutions and the Voting Rights Act, and has one majority-Black district


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             Case 2:23-mc-01181-AMM Document 8 Filed 09/11/23 Page 2 of 2




and one opportunity district in which Black voters have an equal opportunity

to elect their candidate of choice. The Community of Interest Plan complies

with the requirement for a remedial plan that includes “two districts in which

Black voters either compromise a voting-age majority or something quite

close to it.” Milligan ECF 107, p. 213.



        Respectfully submitted this this 11th day of September, 2023.


                                        /s/ Dorman Walker__________
                                        Dorman Walker (ASB-9154-R81J)
                                        BALCH & BINGHAM LLP
                                        Post Office Box 78 (36101)
                                        455 Dexter Avenue
                                        Montgomery, AL 36104
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                                        Email: dwalker@balch.com

                           CERTIFICATE OF SERVICE

        I hereby certify that this the 11th day of September 2023 I electronically

filed the foregoing notice with the clerk of the Court using the CM/ECF

system, which will send notice to all counsel of record.

                                        /s/Dorman Walker




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